Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 1 of 17 PageID #: 1811



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



 NATIONAL UNION FIRE INSURANCE   §
 CO. OF PITTSBURGH, PENNSYLVANIA;§
 ASSOCIATED ELECTRIC & GAS       §
 INSURANCE SERVICES LTD.;        §
 ALLIANZ GLOBAL RISKS US         §
 INSURANCE CO.; COMMONWEALTH     §
 INSURANCE CO.; NAVIGATORS       §
 MANAGEMENT COMPANY, INC.; and   §
 ARCH SPECIALTY INSURANCE CO.,   §
                                 §                 CIVIL ACTION NO. H-10-0342
                Plaintiffs,      §
                                 §
 v.                              §
                                 §
 AKER KVAERNER/IHI, a General    §
 Partnership,                    §
                                 §
                Defendant.       §


                        MEMORANDUM OPINION AND ORDER


       National     Union     Fire     Insurance      Company      of      Pittsburgh,

 Pennsylvania     (“National         Union”),   Associated        Electric        &     Gas

 Insurance    Services      Ltd.     (“AEGIS”),    Allianz        Global     Risks       US

 Insurance Company (“Allianz”), Commonwealth Insurance Company,

 Navigators Management Company, Inc. (“Commonwealth”), Navigators

 Management     Company,      Inc.    (“Navigators”),       and     Arch     Specialty

 Insurance Company (“Arch”) (collectively “the Insurers”) bring this

 action   against    Aker     Kvaerner/IHI      (“AK/IHI”)      seeking      an       order

 compelling    AK/IHI    to    arbitration      or,    in   the     alternative,          a

 declaratory judgment concerning certain insurance coverage issues.

 Pending before the court is AK/IHI’s Motion to Dismiss (Docket
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 2 of 17 PageID #: 1812



 Entry No. 13).         For the reasons explained below, the court will not

 dismiss the complaint, but will transfer it to the District Court

 for the Western District of Louisiana where related litigation

 between the parties is pending.


                      I.    Factual and Procedural Background

        This action concerns an insurance coverage dispute arising

 from       hurricane       damage         to    a      Liquid     Natural      Gas    (“LNG”)

 regasification terminal in Cameron Parish, Louisiana.                                  AK/IHI

 signed a contract with Cameron LNG, LLC, a subsidiary of Sempra

 Energy,       in    2004   to    engineer,           procure,    and   construct      the    LNG

 terminal.1          AK/IHI      was   in       the    later     stages   of    the   terminal

 construction project when Hurricane Ike made landfall in eastern

 Texas on September 13, 2008, and inflicted substantial flooding and

 wind       damage    along      the   coasts          of   eastern     Texas   and    western

 Louisiana.2          AK/IHI      is   a    Texas       General    Partnership        with    its

 administrative offices in Houston, Texas. The partnership consists

 of two partners, Aker Solutions US Inc. and IHI Inc.                                        Aker

 Solutions US Inc. is a Delaware Corporation with its principal

 place of business in Houston, Texas.3                           IHI Inc. is a Delaware


        1
       Complaint, Exhibit A to Defendant’s Memorandum of Law in
 Support of Motion to Dismiss Complaint (“Defendant’s Memorandum”),
 Docket Entry No. 15, ¶ 21.
        2
            Id. ¶¶ 23-26.
        3
       Complaint, Exhibit A to Defendant’s Memorandum, Docket Entry
 No. 15, ¶ 6.

                                                 -2-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 3 of 17 PageID #: 1813



 Corporation with its principal place of business in New York.4                    The

 Insurers have alleged that IHI’s principal place of business is in

 Houston, Texas.5            AK/IHI, however, has provided an affidavit from

 Keiichi Ishikane, a Senior Vice President-Sales for IHI Inc.,

 stating      that     the    majority    of    IHI’s   executives   work   in   IHI’s

 New York office, and that all major management, investment, and

 financial decisions are             made in the New York office.6          Ishikane

 states that IHI opened a sales office in Houston in 2010 that is

 currently      staffed       by   only   one    employee.7    The   Insurers     have

 provided no evidence contradicting Ishikane’s statements.

       The Insurers who bring this action were all involved in

 underwriting Construction All Risk insurance policies for the LNG

 terminal.8      National Union is a Pennsylvania corporation with its

 principal place of business in New York.9                    AEGIS is a Bermuda

 corporation with its principal place of business in Bermuda.10



       4
           Id. ¶ 7.
       5
       Complaint  to   Compel   Arbitration,   Alternatively   for
 Declaratory Judgment (“Insurers’ Complaint”), Docket Entry No. 1,
 ¶ 9.
       6
       Declaration of Keiichi Ishikane, Exhibit I to Defendant’s
 Memorandum, Docket Entry No. 20, ¶¶ 1-16.
       7
           Id. ¶¶ 17-18.
       8
       See, e.g. AEGIS Property Insurance Subscription                       Policy,
 Exhibit A to Insurers’ Complaint, Docket Entry No. 1.
       9
           Insurers’ Complaint, Docket Entry No. 1, ¶ 3.
       10
            Id. ¶ 4.

                                               -3-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 4 of 17 PageID #: 1814



 Allianz is a California corporation with its principal place of

 business in Illinois.11 Commonwealth is a Canadian corporation with

 its principal place of business in British Columbia.12                   Navigators

 is a New York corporation with its principal place of business in

 New York.13 Arch is a Nebraska corporation with its principal place

 of business in New York.14


 A.    The Insurance Policies

       The six policies (collectively “the Policies”) issued by the

 Insurers each underwrite percentage shares of a total insurance

 coverage of $400,000,000 on the LNG terminal.15                The Policies state

 that the applicable law is that of New York.16

       One of the central disputes between the parties involves the

 proper       interpretation        of   General       Clause    Three,     entitled

 “Arbitration,”        found   in   each    of   the   Policies.17      The    clause

 provides:


       11
            Id. ¶ 5.
       12
            Id. ¶ 6.
       13
            Id. ¶ 7.
       14
            Id. ¶ 8.
       15
       Property Insurance Subscription Policy,                       Exhibit   A   to
 Insurers’ Complaint, Docket Entry No. 1, p. 4.
       16
            Id.
       17
       The text of General Condition Three in all six insurance
 policies is provided in Exhibit A to Reply Brief of AK/IHI in
 Further Support of Motion to Dismiss, Docket Entry No. 28.

                                           -4-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 5 of 17 PageID #: 1815



       3.   Arbitration

            If the Insured and the Underwriters fail to agree on
       the amount of loss, each will, on the written demand of
       either, select a competent and disinterested appraiser
       after:

             a.   The Insured has fully complied              with   all
             provisions of this Policy, and

             b.   The Underwriters have received a signed and
             sworn proof of loss from the Insured.

            Each will notify the other of the appraiser selected
       within 20 days of such demand.

            The appraisers will first select a competent and
       disinterested umpire. If the appraisers fail to agree
       upon an umpire within thirty (30) days then, on the
       request of the Insured or the Underwriters, the umpire
       will be selected by a judge of a court of record in the
       jurisdiction in which the arbitration is pending. The
       appraisers will then appraise the amount of loss, stating
       separately the Actual Cash Value and replacement cost
       value as of the date of loss and the amount of loss, for
       each item of physical loss or damage coverage of this
       Policy.

            If the appraisers fail to agree, they will submit
       their differences to the umpire. An award agreed to in
       writing by any two (2) will determine the amount of loss.

             The Insured and the Underwriters will each:

             a.   Pay its chosen appraiser; and

             b.   Bear equally the         other   expenses    of    the
             arbitration and umpire.

            A demand for arbitration shall not relieve the
       Insured of its continuing obligation to comply with the
       terms and conditions of this Policy.

            The Underwriters will not be held to have waived any
       of its rights by any act relating to arbitration.

            The Insured and the Underwriters shall each bear the
       expenses of their own appraisers and shall bear equally
       the expenses of the umpire.

                                     -5-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 6 of 17 PageID #: 1816



            The seat of arbitration shall be the State of
       New York.18

 The parties dispute whether General Condition Three is a binding

 arbitration clause, and, if it is, whether the clause applies to

 disputes over coverage or just to disputes over the amount of loss.


 B.    Hurricane Ike

       In the early morning of September 13, 2008, Hurricane Ike made

 landfall    near      Galveston,   Texas,      causing   substantial       wind    and

 flooding damage along the coasts of eastern Texas and western

 Louisiana.       AK/IHI states that the storm inflicted substantial

 damage     on   the   equipment    and   structures      at   the    LNG   terminal

 construction site in Cameron Parish.19

       AK/IHI filed claims for its losses under the Policies.                      Over

 a period of several months AK/IHI and the Insurers engaged in

 negotiations concerning the amount of loss and issues of coverage

 under the Policies.        The Insurers agreed to pay certain claims but

 denied others.         In particular, the parties disagreed over two

 issues:     first, whether the Insurers were obligated to pay for

 dredging silt that had accumulated in the marine terminal after the

 seventy-two hour period following the storm; and second, whether

 certain other claims were excluded from coverage as “consequential


       18
       Property Insurance Subscription Policy,                       Exhibit   A     to
 Insurers’ Complaint, Docket Entry No. 1, p. 19.
       19
       See Summary of Loss, Exhibit F to Insurers’ Complaint, Docket
 Entry No. 1.

                                          -6-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 7 of 17 PageID #: 1817



 losses.”20 AK/IHI alleges that the Insurers have failed to pay more

 than $24 million of covered costs.21


 C.      Procedural Background

         On February 1, 2010, AK/IHI brought suit against the Insurers

 in the 38th Judicial District Court of Cameron Parish, Louisiana,

 alleging breach of contract and bad faith regarding the Insurers’

 handling of AK/IHI’s insurance claims.22                On February 4, 2010,

 counsel for the Insurers provided AK/IHI with written notice of

 their         demand    that    the   underlying   dispute    be    settled    in

 arbitration.23          On the same day, the Insurers filed in this court

 a Complaint to Compel Arbitration (Docket Entry No. 1).                       The

 Insurers        argue    that   General   Condition   Three   in   the   Policies

 requires AK/IHI to submit the dispute to arbitration.24                   In the

 alternative, the Insurers seek declaratory judgments that the

 additional insurance payments sought by AK/IHI are consequential

 damages unavailable under the terms of the Policies,25 and that



         20
       Letter from Scott Ray to Greg Presswood, December 2, 2009,
 Exhibit H to Insurers’ Complaint, Docket Entry No. 1.
         21
              Defendant’s Motion to Dismiss Complaint, Docket Entry No. 13,
 ¶ 3.
         22
       Complaint, Exhibit A to Defendant’s Memorandum, Docket Entry
 No. 15.
         23
       Notice and Demand for Arbitration, February 4,                        2010,
 Exhibit C to Defendant’s Memorandum, Docket Entry No. 15.
         24
              Insurers’ Complaint, Docket Entry No. 1, ¶¶ 40-43.
         25
              Id. ¶¶ 44-47.

                                           -7-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 8 of 17 PageID #: 1818



 claims for the costs of dredging silt that accumulated more than 72

 hours after the storm hit are also excluded under the Policies.26

       On February 19, 2010, the Insurers removed the Louisiana state

 court action to the United States District Court for the Western

 District of Louisiana, pleading both diversity jurisdiction and

 federal question jurisdiction.27 On February 24, 2010, AK/IHI moved

 to remand the action to state court.28                   A hearing on the Motion to

 Remand      is    currently     scheduled         for    July       29,    2010,    in     the

 Lake Charles Division of the United States District Court for the

 Western District of Louisiana.

       On February 25, 2010, AK/IHI moved to dismiss the Insurers’

 Complaint        in   this   court    pursuant      to    Federal         Rules    of    Civil

 Procedure 12(b)(1) and 12(b)(6) (Docket Entry No. 13).                                  AK/IHI

 argues that this court lacks subject matter jurisdiction over the

 action because there is not complete diversity between the parties.

 AH/IHI       further    argues       that    there       is    no     federal      question

 jurisdiction because General Condition Three is not an agreement to

 arbitrate coverage disputes, and thus the Federal Arbitration Act

 and the New York Convention do not apply.                     AK/IHI also argues that

 the Insurers have failed to state a claim upon which relief can be


       26
            Id. ¶¶ 48-51.
       27
       Notice of Removal, Exhibit G to Defendant’s Memorandum,
 Docket Entry No. 18.
       28
       Motion to Remand, Exhibit H to Defendant’s Memorandum, Docket
 Entry No. 19.

                                             -8-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 9 of 17 PageID #: 1819



 granted because General Condition Three applies only to disputes

 over the amount of loss, whereas the dispute between the parties

 concerns   issues   of    coverage.     Finally,   AK/IHI   argues    that   a

 declaratory judgment is not available to the Insurers under federal

 law because there is a pending action in state court in Louisiana

 concerning the same issues.


                     II.   Subject Matter Jurisdiction

       As a threshold matter, AK/IHI challenges whether the court has

 subject matter jurisdiction to hear this action.            Federal Rule of

 Civil Procedure 12(b)(1) governs challenges to a court’s subject

 matter jurisdiction.       “A case is properly dismissed for lack of

 subject matter jurisdiction when the court lacks the statutory or

 constitutional power to adjudicate the case.”         Home Builders Ass’n

 of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir.

 1998) (quoting Nowak v. Ironworkers Local 6 Pension Fund, 81 F.3d

 1182, 1187 (2d Cir. 1996)).           “Courts may dismiss for lack of

 subject matter jurisdiction on any one of three bases: (1) the

 complaint alone; (2) the complaint supplemented by undisputed facts

 in the record; or (3) the complaint supplemented by undisputed

 facts plus the court’s resolution of disputed facts.”                Clark v.

 Tarrant County, 798 F.2d 736, 741 (5th Cir. 1986).            The plaintiff

 bears the burden of demonstrating that subject matter jurisdiction

 exists.    See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir.

 1981).

                                       -9-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 10 of 17 PageID #: 1820



        The   Insurers    have       pled    two     grounds    for    subject       matter

 jurisdiction.         First,    the    Insurers       argue    that    the    court     has

 original jurisdiction over this action pursuant to 9 U.S.C. § 201

 et seq., which provide for the enforcement of the Convention on the

 Recognition     and    Enforcement         of    Foreign    Arbitral       Awards     (“the

 New York Convention”) in the United States.                          In particular, 9

 U.S.C. § 203 provides:

        An action or proceeding falling under the Convention
        shall be deemed to arise under the laws and treaties of
        the United States. The district courts of the
        United States . . . shall have original jurisdiction over
        such an action or proceeding, regardless of the amount in
        controversy.

 In applying the New York Convention, the Fifth Circuit has held

 that    it   “contemplates      a    very       limited    inquiry    by    courts     when

 considering a motion to compel arbitration,” and that the court

 should compel arbitration if (1) there is an agreement in writing

 to     arbitrate   the    dispute,         (2)     the    agreement        provides     for

 arbitration in the territory of a Convention signatory, (3) the

 agreement arises out of a commercial legal relationship, and (4) a

 party to the agreement is not an American citizen.                          Francisco v.

 Stolt Achievement MT, 293 F.3d 270, 273 (5th Cir. 2002).                        If these

 requirements are met, the Convention requires district courts to

 order arbitration.       Id.

        AK/IHI disputes the first element, i.e., whether there is an

 agreement in writing to arbitrate the dispute. Determining whether

 the parties agreed to arbitrate the dispute in question involves

                                            -10-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 11 of 17 PageID #: 1821



 two considerations:               (1) whether there is a valid agreement to

 arbitrate between the parties; and (2) whether the dispute in

 question falls within the scope of that arbitration agreement. Am.

 Heritage Life Ins. Co. v. Lang, 321 F.3d 533, 537 (5th Cir. 2003).

 The court concludes that General Condition Three in the Policies is

 an   agreement        to    arbitrate      something.        The   clause    is     titled

 “Arbitration,”         and        the   text    of    the   clause    uses    the       term

 “arbitration” five times.29                It specifies that “[t]he seat of the

 arbitration shall be the State of New York.”30                       These references

 show the intent of the parties to arbitrate at least a certain

 category of disputes.

         What is less clear is “whether the dispute in question falls

 within the scope of that arbitration agreement.” General Condition

 Three appears to represent an agreement that the parties will

 submit their dispute to arbitration “[i]f the Insured and the

 Underwriters fail to agree on the amount of loss,” i.e., when there

 is a factual dispute about the extent or dollar value of damages.

 AK/IHI argues that this action concerns a legal dispute over the

 coverage provided by the Policies, rather than a factual dispute

 about        the   amount    of    loss.       The    Insurers   argue    that     General

 Condition Three should be construed broadly, so as to encompass

 disputes over coverage.


         29
       Property Insurance Subscription Policy,                            Exhibit    A     to
 Insurers’ Complaint, Docket Entry No. 1, p. 19.
         30
              Id.

                                                -11-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 12 of 17 PageID #: 1822



        For the reasons explained below, the court will not decide

 this question.         To decide whether subject matter jurisdiction

 exists would require the court to rule on the merits of the

 Insurers’ motion to compel arbitration.                   Because this decision

 would bear on essentially similar questions pending in a previously

 filed action currently under consideration in another United States

 District Court, the court concludes that deciding whether coverage

 issues fall within the scope of General Condition Three would

 violate the first-to-file rule, which is discussed below.                      For the

 same      reasons,    the     court    will     not   decide   whether    diversity

 jurisdiction is present in this action.


                         III.     The First-to-File Rule

        The existence of a prior-filed action involving the same

 parties     and   essentially         similar    issues   in   the    United    States

 District Court for the Western District of Louisiana may limit the

 actions that this court should properly take.


 A.     The First-to-File Rule

        The first-to-file rule is based on “principles of comity and

 sound judicial administration.”                 Save Power Ltd. v. Syntek Fin.

 Corp., 121 F.3d 947, 950 (5th Cir. 1997).                  It “requires federal

 district courts -- courts of coordinate jurisdiction and equal rank

 --   to    exercise    care    to     avoid   interference     with    each    other’s

 affairs.”      West Gulf Maritime Ass’n v. ILA Deep Sea Local 24, 751

 F.2d 721, 728 (5th Cir. 1985).


                                           -12-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 13 of 17 PageID #: 1823



        “Under the first-to-file rule, when related cases are pending

 before two federal courts, the court in which the case was last

 filed may refuse to hear it if the issues raised by the cases

 substantially overlap.”       Cadle Co. v. Whataburger of Alice, Inc.,

 174 F.3d 599, 603 (5th Cir. 1999) (citing Save Power, 121 F.3d at

 950; West Gulf Maritime, 751 F.2d at 728).          The rule vests in the

 court in which the first of the two related actions was filed the

 responsibility of “determin[ing] whether subsequently filed cases

 involving substantially similar issues should proceed.”               Sutter

 Corp. v. P & P Indus., Inc., 125 F.3d 914, 920 (5th Cir. 1997).

 Therefore, the second-filed court should usually stay, dismiss, or

 transfer the action over which it is presiding in deference to the

 first-filed court.     See West Gulf Maritime, 751 F.2d at 729 & n. 1,

 730.   This enables the court in which the first related action was

 filed to “decide whether the second suit filed must be dismissed,

 stayed or transferred and consolidated.” Sutter Corp., 125 F.3d at

 920.     “In the absence of compelling circumstances, the Court

 initially seized of a controversy should be the one to decide

 whether it will try the case.” Mann Manufacturing, Inc. v. Hortex,

 Inc., 439 F.2d 403, 407 (5th Cir. 1971).             In determining which

 action was filed first, the court considers a removed case to have

 been filed on the date it was filed in state court, rather than on

 the date of removal.       See Igloo Products Corp. v. The Mounties,

 Inc., 735 F.Supp. 214, 217 (S.D. Tex. 1990).


                                     -13-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 14 of 17 PageID #: 1824



 B.    Analysis

       The action currently pending between the parties in the

 Western District of Louisiana was filed in Louisiana state court on

 February 1, 2010.31     This action was filed on February 4, 2010. The

 action pending in Louisiana is therefore the first-filed action.

 The two actions also deal with substantially similar issues. While

 the action in Louisiana is a suit for breach of contract and the

 action in this court seeks to compel arbitration, both actions are

 essentially concerned with the question of what losses the Insurers

 are obligated to cover under the Policies. The two actions concern

 the same parties and the same facts.          The Insurers pled the same

 grounds for federal jurisdiction in both actions, and AK/IHI has

 challenged    federal   jurisdiction     in   both   actions   on   the   same

 grounds.    There is no reason why the Insurers could not have filed

 its motions to compel arbitration and seeking declaratory judgments

 in the action currently pending in Louisiana.            Absent compelling

 circumstances, see Mann Manufacturing, 439 F.2d at 407, the court

 is obligated under the first-to-file rule to dismiss this action or

 transfer it to the Western District of Louisiana.

       The Insurers argue that the first-to-file rule should not

 apply in this action because compelling circumstances require an

 exception.    First, the Insurers argue that the first-to-file rule



       31
       Complaint, Exhibit A to Defendant’s Memorandum, Docket Entry
 No. 15, p. 1.

                                     -14-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 15 of 17 PageID #: 1825



 should not apply because the Louisiana action was an anticipatory

 lawsuit filed by AK/IHI for purposes of forum shopping.               The court

 does not agree.       Alleging that another party engaged in “forum

 shopping” does not establish that the opposing party’s choice of

 forum was abusive.     All plaintiffs must choose a forum in which to

 file their suit, and it is well settled that a plaintiff’s choice

 of forum is entitled to “appropriate deference.”                  See In re

 Volkswagen of America, Inc., 545 F.3d 304, 315 (5th Cir. 2008).

       The cases cited by the Insurers for the principle that courts

 will disregard the first-to-file rule to prevent forum-shopping –-

 e.g., British Borneo Exploration, Inc. v. Enserch Exploration,

 Inc., 28 F.Supp.2d 999 (E.D. La. 1998), and 909 Corp. v. Village of

 Bolingbrook Police Pension Fund, 741 F.Supp. 1290 (S.D. Tex. 1990)

 -- involved situations in which parties sought to deprive an

 aggrieved party of its choice of forum by filing anticipatory

 declaratory     judgment   actions.        These   cases   do   not    support

 disregarding the first-to-file rule in this action.             AK/IHI is the

 party bringing the grievance and, thus, should be entitled to the

 plaintiff’s traditional choice of forum. Moreover, AK/IHI seeks to

 recover on the merits of its claims, and is not merely seeking a

 declaratory judgment.      And finally, Cameron Parish, Louisiana, is

 a logical forum in which to settle the dispute.                  This action

 involves damage to property in Cameron Parish.             Because all the

 parties to this action signed insurance policies covering property

 in Cameron Parish, it is the one location to which all parties to

                                     -15-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 16 of 17 PageID #: 1826



 the action have a connection.                     It is not abusive “forum shopping”

 to file suit in the venue with the most factual connections to the

 dispute.

          The Insurers also argue that the court should disregard the

 first-to-file rule because “the balance of convenience favors the

 later filed action.”32               Courts have recognized an exception to the

 first-filed rule where the balance of convenience favors the

 second-filed         action.              See    Employers   Ins.       of    Wasau    v.    Fox

 Entertainment Group, Inc., 522 F.3d 271, 275 (2d Cir. 2008); Igloo

 Products, 735 F.Supp. at 218.                       The Insurers, however, have not

 established         that      the    Southern        District     of    Texas     is   a    more

 convenient location than the Western District of Louisiana for

 addressing the dispute.               As discussed above, Cameron Parish is the

 location with the most factual connections to the dispute, and it

 is   a        location   to    which        all    parties   to    the       dispute   have    a

 connection. The dispute concerns property damage in Cameron Parish

 and, thus, a court located in Cameron Parish will be a more

 convenient         location         for     accessing    physical        evidence      or    for

 obtaining testimony from witnesses who work at or live near the

 affected         property.           The        United   States        District    Court      in

 Lake Charles is located in Cameron Parish and is therefore a

 convenient location in which to address this dispute.                             This court


          32
        Plaintiffs’ Surreply to Defendant’s Reply Brief in Further
 Support of Motion to Dismiss, Docket Entry No. 37, p. 14, quoting
 Multi-Shot, LLC v. B & T Rentals, Inc., 2010 WL 376373, *6 (S.D.
 Tex.).

                                                   -16-
Case 2:10-cv-01041-PM-KK Document 48 Filed 06/16/10 Page 17 of 17 PageID #: 1827



 sees no reason to disregard the first-to-file rule on the basis of

 the parties’ convenience.


 C.    Conclusion

       The court concludes that because the action between the

 parties currently pending in the Western District of Louisiana was

 filed before the action in this court, and because the two actions

 concern    substantially      similar    issues,   the   first-to-file     rule

 obliges this court to dismiss or transfer this action.             The court

 further concludes that no compelling circumstances require the

 court to disregard the first-to-file rule.               The court therefore

 will transfer this action to the United States District Court for

 the Western District of Louisiana.           The court makes no ruling on

 AK/IHI’s Motion to Dismiss (Docket Entry No. 13).


                         IV.    Conclusion and Order

       For the reasons stated above, the court concludes that the

 first-to-file rule obliges the court to transfer this action to the

 court where the first-filed action is pending.             Accordingly, this

 action    is   TRANSFERRED    to   the   Lake   Charles    Division   of    the

 United States District Court for the Western District of Louisiana.

       SIGNED at Houston, Texas, on this the 16th day of June, 2010.




                                                        SIM LAKE
                                              UNITED STATES DISTRICT JUDGE


                                     -17-
